Case 3:21-cr-30007-PKH Document’3 Filed 04/28/21 Page 1 of 3 PagelD #: 8

US DIRTRICT COURT
WESTERN DIST ARKANSAS
FILED
IN THE UNITED STATES DISTRICT COURT 5 200
WESTERN DISTRICT OF ARKANSAS APR 2
HARRISON DIVISION 5
: Deputy Clerk
UNITED STATES OF AMERICA )
)  CaseNo. 5: 2LCR 3000 7-COl
)
VS. ) 21 U.S.C. § 841(a)(1)
) 21 U.S.C. § 841(B)(1)(6)(VID)
) 18 U.S.C. § 922(g)(1)
STANLEY ZED FADDEN ) 18 U.S.C. § 924(a)(2)
INDICTMENT
The Grand Jury Charges:
COUNT ONE

On or about March 30, 2021, in the Western District of Arkansas, Harrison Division, the
Defendant, STANLEY ZED FADDEN, knowingly possessed with intent to distribute a
controlled substance, namely, more than fifty (50) grams of a mixture or substance containing a
detectible amount of methamphetamine, a Schedule II controlled substance.

All in violation of Title 21, United States Code, Section 841(a)(1) and Title 21, United
States Code, Section 841(b)(1)(B)(viii).

COUNT TWO

On or about March 30, 2021, in the Western District of Arkansas, Harrison Division, the
Defendant, STANLEY ZED FADDEN, knowingly possess a firearm, namely, a Winchester
Ranger 30-30 rifle, serial number 5358805, said firearm having been shipped and transported in
interstate commerce, knowing that he had been convicted in any court of a crime punishable by

imprisonment for a term exceeding one year.

Page 1 of 3
Case 3:21-cr-30007-PKH Document 3 _ Filed 04/28/21 Page 2 of 3 PagelD #: 9

All in violation of Title 18, United States Code, Section 922(g)(1) and Title 18, United
States Code, Section 924(a)(2).

NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE

The allegations contained in Counts One and Two of this Indictment are hereby re-alleged
and incorporated by reference for the purpose of alleging forfeitures pursuant to Title 21, United
States Code, Section 853.

Pursuant to Title 21, United States Code, Section 853, upon conviction of an offense in
violation of Title 21, United States Code, Sections 841, the Defendant, STANLEY ZED
FADDEN, shall forfeit to the United States of America any property constituting, or derived from,
any proceeds obtained, directly or indirectly, as the result of such offense[s] and any property used,
or intended to be used, in any manner or part, to commit, or to facilitate the commission of, the
offense(s). The property to be forfeited includes, but is not limited to, the following:

a. A money judgment;
b. $5,983.70 in U.S. Currency seized on March 30, 2021; and
c. One (1) Winchester Ranger 30-30 rifle, serial number 5358805.
Moreover, if any property subject to forfeiture, as a result of any act or omission by the Defendant:

(a) Cannot be located upon the exercise of due diligence;

(b) Has been transferred or sold to, or deposited with a third party;

(c) Has been placed beyond the jurisdiction of the court;

(d) Has been substantially diminished in value; or

(e) Has been commingled with other property which cannot be subdivided without

difficulty;

Page 2 of 3
Case 3:21-cr-30007-PKH Document 3 Filed 04/28/21 Page 3 of 3 PagelD #: 10

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p).

 

 

A True Bill. DAVID CLAY FOWLKES

ACTIN S ATTORNEY
/s/ Grand Jury Foreperson By:
Grand Jury Foreperson Brandof Carter

Assistant U. S. Attorney

Arkansas Bar No. 2005241

414 Parker Avenue

Fort Smith, AR 72901

Phone: (479) 249-9042

E-mail: Brandon.T.Carter@usdoj.gov

Page 3 of 3
